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 7
     Tech-4-Kids, Inc.
 I                                  UNITED STATES DISTRICT COURT
 9
                                CEI\TRAL DISTRICT OF CALIFORNIA
10
                                             \ryESTERI{ DIVISION
11


12
      TECH-4-KIDS, II.{C.,                                     CASE NO. 2: I2-CY-06769-PA-AJW
13
                       Plaintiff,                              PLAINTIFF TECH-4.KIDS, INC.'S
14
      VS.                                                      EVIDEI{TIARY OBJECTTOI\S TO
15
                                                               DEFENDAI\TS' SEPARATE
      SPORT DIMENSION, INC.,                                   STATEMENT OF UI..{DISPUTED
t6                                                             FACTS IN SUPPORT OF
                       Defendant.                              DEFENDANTS' MOTION FOR
I7                                                             SUMMARY JUDGMEI{T
18

T9    SPORT DIMENSION, INC.,                                   fOpposition, Separate Statement of
                                                               Genuine Issues, Declarations of Michael
20                     Counterclaimant,                        Lawrence, Brad Pedersen and Thomas
      VS.
                                                               Neches F iled Concurrently herewith]
2T

22    TECH-4-KIDS, INC.,                                       DATE:           June 3, 2013
23
                                                               TIME:           1:30 p.m.
                       Counterdefendant.
                                                               CTRM:            15
24
                                                               Judge: Honorable Percy Anderson
25

26

27

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       Plaintiff Tech-4-Kids, Inc,'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Support of Defendants' Motion for Summary Judgment
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 1          Pursuant     to this Court's       Scheduling Order (Dkt. 50), Plaintiff and Coun
 2   Defendant Tech-4-Kids, Inc. ("Tech-4-Kids") hereby submits the following
 J   objections to Defendants Sport Dimension, Inc. ("Sport Dimension") and Kurt Rios'
 4   ("Rios") (collectively, "Defendants") Separate Statement of Undisputed Facts in Su
 5   of Defendants' Motion for Summary Judgment
 6                                             E           Y OBJECTIO
 l           Separate Statement Paragraph          1: Objection to the initial complaint (Dkt.           1) on the

 8   ground that the initial complaint is irrelevant as it is no longer operative in this case. Fed
 9   R. Evid. 401, 402, 403      .


10

11           Separate Statement Paragraph          2: Objection to the first amended complaint (Dkt.
t2    29) onthe ground that the first amended complaint is irrelevant as it is no longer
13   operative in this case. Fed. R. Evid. 401,402,403. The date of filing of the first
I4   amended complaint is also irrelevant. This case, which was originally filed in the Dis
15   of Maryland, had been stayed for months pursuant to the parties' agreement. The parties
r6   subsequently agreed to transfer the case to this district.
T7

18           Separate Statement Paragraph          3: The fîling date of the second         amended complaint

t9   is irrelevant to any issue raised in Defendants' motion. Fed. R. Evid. 401,402,403.
20   Moreover, although the second amended complaint was entered on March 4,2013, Tech-
2I   4-Kids had moved to amend on January 14,2013. (Dkt. 56.)
22

z)           Seoarate Statement P ¡rralranh 7 : Objection to the supporting Declaration of Kurt

24   Rios ("Rios Decl."), paragraph 2 onthe ground that Sport Dimension's location and how
25   long it has been in business are irrelevant to any issue raised in Defendants' motion.
26   Fed. R. Evid. 401,402.
2l
28

                                                             2
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Supporl of Defendants' Motion for Summary Judgment
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 1           Separate   S tatement    Parasraoh 10: Objection to the supporting Rios Decl.,
 2   paragraph 4 on the ground that the terms "snow related products" and "snow sliders" are
 a
 J   vague and ambiguous so that its probative value is substantially outweighed by the
 4   danger of unfair prejudice, confusion of the issue, and misleading the court. Fed. R.
 5   Evid.403.
 6           Moreover, "snow related products" and "snow sliders" are different from snow
 7   bikes which are at issue in this case. Thus whether or not Sport Dimension began selling
 8   "snow related products" or "snow sliders" in 2002 is irrelevant to any issue raised in
 9   Defendants' motion. Fed. R. Evid. 40I,402.
10

11           Separate Statement Paragraph          11: Objection to the supporting Rios Decl.,
l2   paragraph 5 on the ground that the term "relationships" is vague and ambiguous so that
13   its probative value is substantially outweighed by the danger of unfair prejudice,
T4   confusion of the issue, and misleading the court. Fed. R. Evid. 403.
15

16           Separate Statement Paragraph 12: Objection to the supporting Rios Decl.,
17   paragraph 5 on the ground that the term "relationships" is vague and ambiguous so that
18   its probative value is substantially outweighed by the danger of unfair prejudice,
I9   confusion of the issue, and misleading the court. Fed. R. Evid. 403.
20

2I           Seoarate Statement Parasranh 13 : Objection to the supporting Declaration                     of
22   Sarah Brooks ("Brooks Decl."),           Exhibit I al 14:2-14 on the ground that it is vague and
23   ambiguous so that its probative value is substantially outweighed by the danger of unfair
24   prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 403. Indeed,
25   other Separate Statements proffered by Defendants suggest that Tech-4-Kids has been
26   selling products beyond 5 years. See e.g., Separate Statement No. 30 and34.
27

28
                                                             J
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Support of Defendants' Motion for Summary Judgment
     Case 2:12-cv-06769-PA-AJW Document 128-1 Filed 05/13/13 Page 4 of 17 Page ID
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 1           Seoarate Statement Parasranh          t6 Objection to the supporting Brooks Decl.,
 2   Exhibit I at 14:2-14 on the ground that it is vague and ambiguous so that its probative
 ô
 J   value is substantially outweighed by the danger of unfair prejudice, confusion of the
 4   issue, and misleading the court. Fed. R. Evid. 403. Indeed, other Separate Statements
 5   proffered by Defendants suggest that Tech-4-Kids has been selling snow bikes since
 6   before 2009. See e.g., Separate Statement No. 30 and34.
 7           Moreover, the timing of Tech-4-Kids' formation or that Tech-4-Kids was
 8   "established" after Sport Dimension began selling unspecified "snow products" is
 9   irrelevant to any issue raised in Defendants' motion. Fed. R. Evid. 401,402.                      Ilis
10   undisputed that Sport Dimension did not begin selling the snow bikes at issue until after
11   it had seen Tech-4-Kids' products and had entered into a distribution agreement with
I2   Tech-4-Kids. Defendants' Separate Statement No. 16 mischaracterizes Mr. Pedersen's
13   deposition testimony. Mr. Pederson's deposition testimony should be considered in its
I4   context and entirety. Fed. R. Evid. 106, 901 ,1002.
15

I6           Separate Statement Paragraph 18: O bjection to the supporting Brooks Decl.,
t7   Exhibit 2 at 67:9-68:9 on the ground that it lacks foundation and Defendants misstate and
18   mischaracterize Mr. Weenink's deposition testimony. Further Defendants' statement is
I9   argumentative such that its probative value is substantially outweighed by the danger                      of
20   unfair prejudice, confusion of the issue, and misleading the court. Mr. Weenink's
21   deposition testimony should be considered in its context and entirety. Fed. R. Evid. 106,
22    403,901, 1002.
23

24           Seoarate Statement Parasranh           t9 : Objection to the supporting Rios Decl.,
25    paragraph 13 on the grounds that it lacks foundation and is argumentative. Further,
26   Defendants' statement 19 mischaracterizes Mr. Rios's declaration in that he in no way
27   stated that the Yamaha snow bike was intentionally designed to look different from

28   T4K's snow bikes. As such, its probative value is substantially outweighed by the
                                                             4
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
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 I   of unfair prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 106,
 2   403,602,70r,90r
 J

 4          Separate Statement P                   20: Objection to the supporting Rios Decl.,
 5   paragraph 13 on the ground that whether or not the Yamaha snow bike is covered by a
 6   U.S. patent is irrelevant to any issue raised in Defendants' motion. Fed. R. Evid. 401,
 l   402, 403,
 8


 9           Separate Statement Paragraph          21: Objection to the supporting Brooks Decl.,
10   Exhibit I at27I:20-274:24 andExhibit 24 at24t:I8-21 on the grounds that they lack
11   foundation, andDefendants' separate statement is argumentative and misstates and
T2   mischaracterizes the cited deposition testimony. The cited deposition testimony should
13   be considered in its context and entirety. Fed. R. Evid. 106,403,901,1002.
I4

t5           Separate Statement Paragraph          22: Objection to the supporting Brooks Decl.,
I6   Exhibit 3 at 126:11-128:3 and Exhibit24 at204:7-206:1 on the ground that Consumer
I7   Product Safety Improvement Act of 2008 is irrelevant to any issue raised in Defendants'
18   motion. Fed. R. Evid. 40I,402. Statement 22 is also misleading because the Act does
T9   not apply to products manufactured before the end of 2008.
20

2T           Separate Statement Paragraph           23: Objection to the supporting Brooks Decl.,
22   Exhibit I at 14:2-14 on the ground that it is vague and ambiguous so that its probative
23   value is substantially outweighed by the danger of unfair prejudice, confusion of the
24   issue, and misleading the court. Fed. R. Evid. 403.
25

26                       Statement                     : Objection     to the supporling Brooks Decl.,
27   Exhibit 28 on the grounds that it is irrelevant to any issue raised in Defendants' motion, it
28    is argumentative, and Defendants' statement mischaracterizes the evidence such that its
                                                             5
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of U ndisputed Facts in
                                    Support of Defendants' Motion for Summary Judgment
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 1   probative value is substantially outweighed by the danger of unfair prejudice, confusion
 2   of the issue, and misleading the court. The Snow MX, the product that was subject to the
 J   voluntary recall, was not "another version of T4K's snow bike," as SD concedes in
 4   Statement 33, which states that Tech-4-Kids sells three different versions of its snow
 5   bikes     -   the X-Games, Ski-Doo and Polaris. Moreover, Exhibit23 indicates that although
 6   Costco U.S. had decided not to buy Tech-4-Kids' snow bike products in January 2011,
 l   the Snow MX (the product that had been previously recalled) was still under
 8   consideration by Costco. Fed. R. Evid. 106,40I,402,403,901,1002.
 9

10              Seoarate Statement P arasralh 25 : Objection to the supporting Brooks Decl.,
11   Exhibits 37 and 391 on the grounds that they lack foundation, are argumentative, and
12   Defendants' statement completely mischaracterizes the evidence such that its probative
13   value is substantially outweighed by the danger of unfair prejudice, confusion of the
T4   issue, and misleading the court. Fed. R. Evid. 106,403,901, 1002.
15

I6              Separate Statement Paragraph             26: Objection to the supporting Brooks Decl.,
t7   Exhibit I at306:17-24; Exhibit 2 at 163:11-168:24 on the grounds that they lack
18   foundation and are irrelevant to any issue raised in Defendants' motion, argumentative,
19   and Defendants' statement mischaracterizes the testimony such that its probative value is
20   substantially outweighed by the danger of unfair prejudice, confusion of the issue, and
2T   misleading the court. Fed. R. Evid. 106, 401, 402, 403, 901, 1002.
22

23              Seoarate Statement Pzralraoh 27 : Objection to the supporting Brooks Decl.,
24   Exhibit 29 and Exhibit I at 313 :8-3            1   5   :1   9 on the grounds that they lack foundation and
25   are irrelevant to any issue raised in Defendants' motion, and                    it is argumentative such that
26

27    Defendants' Separate Statement cites Exhibit 4l to the Brooks Decl. which does not exist.
      '
     Plaintiff believes Defendants intended to cite to Exhibit 39 to the Brooks Decl. to support
28
     Statement No. 25.
                                                                      6
          Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                       Support of Defendants' Motion for Summary Judgment
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 1   its probative value is substantially outweighed by the danger of unfair prejudice,
 2   confusion of the issue, and misleading the court. Fed. R. Evid. 106,401,402,403,90I,
 ô
 J   t002.
 4

 5           Seoarate                Parasraoh 32: Objection to the supporting Brooks Decl.,
 6   Exhibit I at36:I5-22 on the ground that the witness lacks personal knowledge as to what
 7   Rios saw. The witness was testiffing about Rios' statement that he had seen Plaintiff s
 8   product. Defendants' statement misstates and mischaracterizes the testimony such that its
 9   probative value is substantially outweighed by the danger of unfair prejudice, confusion
10   of the issue, and misleading the court. Fed. R. Evid. 403,602.
11


l2           Seoarate Statement Parapraoh          40   Objection to the supporting Rios Decl.,
13   paragraph 10 on the ground that it lacks foundation and is vague and ambiguous such that
14   its probative value is substantially outweighed by the danger of unfair prejudice,
15   confusion of the issue, and misleading the cour1. Rios has no personal knowledge as to
t6   whether anyone else at Sport Dimension received confidential information. Moreover,
t7   the statement that "such information can be reasonably calculated and obtained based on
18   published prices and publicly available information and displayed product" lacks
I9   foundation and is argumentative. Fed. R. Evid. 403,901.
20

2I                        tatement Par             42   The cost sheet has additional information not
22   included in Statement 42. Fed. R. Evid. 106
23

24           Separate Statement Paragraph          48: Objection to the supporting Brooks Decl.,
25   Exhibit 6 on the ground that Defendants' statement misstates and mischaracterizesthe
26   document such that its probative value is substantially outweighed by the danger of unfair
27   prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 106,403,1002.
28

                                                            7
       Plaintiff Tech-4-Kids,Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts rn
                                   Support of Defendants' Motion for Summary Judgment
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 1           Separate Statement Paragraph          49: Objection to the supporting Brooks Decl.,
 2   Exhibit 6 on the ground that Defendants' statement misstates and mischaracterizes the
 J   testimony such that its probative value is substantially outweighed by the danger                    of
 4   prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 403,1002.
 5

 6           Senarate Sta            Parapraoh 54 Objection to the supporting Brooks Decl.,
 7   Exhibit 23 onthe ground that Defendants' statement does not quote Rios' complete
 8   communication such that its probative value is substantially outweighed by the danger of
 9   unfair prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 106,
10   403.
11

I2                        tatement                    :   Objection to the supporting Brooks Decl.,
13   Exhibit 24 at254:4-2I on the ground that Mr. Rios's belief                 as to the terms   of an
t4   agreement in hindsight is irrelevant. See Founding Members of the Newport Beach
15   Country Ctub v. Newport Beach Country Club, Inc.,I09 Cal. App. 4th944,955 (2003)
t6   ("parties' undisclosed intent or understanding is irrelevant to contract interpretation.");
t7   Fed. R. Evid. 402, 403.
18

I9           Senarate S               Parasraoh 57 Objection to the supporting Brooks Decl.,

20   Exhibit 7 on the ground that it lacks foundation, lacks authentication and is hearsay to
2l   which no exception applies. Fed. R. Evid. 403, 802, 901.
22

23                   te Statement                      : Objection    to the supporting Brooks Decl.,
24   Exhibit 8 on the ground that Defendants' statement misstates and mischaracterizes the
25   document such that its probative value is substantially outweighed by the danger                      of
26   prejudice, confusion of the issue, and misleading the court. The document also lacks
27   foundation and authentication. Fed. R. Evid. 106, 403, 901.
28
                                                             8
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts rn
                                    Support of Defendants' Motion for Summary Judgment
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 1                          tatement P                : Objection    to the supporting Brooks Decl.,
 2   Exhibit 9 on the ground that it lacks foundation and authentication. Furthermore, the
 ô
 J   statements made by Mr. Rios are inadmissible hearsay and no exception is applicable.
4    Fed. R. Evid.403, 802, 901.
 5

 6           Seoarate   S           fParasraoh 60: O bjection to the supporting Brooks Decl.,
 l   Exhibit 7 on the ground that it lacks foundation and authentication. Fed. R. Evid. 901.
 8

 9           Separate               tParasraoh 61: Objection to the supporting Brooks Decl.,
10   Exhibit I at I50:4-I4 on the grounds that it misstates and quotes out of context
11   Pedersen's testimony. Fed. R. Evid. 106.
t2

13           Seoarate Statement P arasraoh         62: O bjection on the grounds that the statement
14   mischaracterizes Exhibit 10 such that its probative value is substantially outweighed by
15   the danger of unfair prejudice, confusion of the issue, and misleading the court. Fed. R
I6   Evid.403.
T7

18           Seoarate Statement Parasraoh          64: O bjection to the supporting Brooks Decl.,
T9   Exhibit 12 onthe grounds that it lacks foundation, lacks authentication, is irrelevant to
20   any issued raised in Defendants' motion, and Defendants' statement misstates and
2I   mischaracterizes the testimony such that its probative value is substantially outweighed
22   by the danger of unfair prejudice, confusion of the issue, and misleading the court.
23   Furthermore, statements made by Mr. Rios are inadmissible hearsay and no exception is
24   applicable. Fed. R. Evid. 403,802,901"
25

26           Separate Statement Paragraph          65: Objection to the supporting Brooks Decl.,
27   Exhibit 3 at 126:II-128:23 on the grounds that it is irrelevant to any issue raised in
28   Defendants' motion, andthe witness is not qualified to provide a legal opinion"
                                                             9
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts ln
                                    Support of Defendants' Motion for Summary Judgment
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 1    Furthermore, Defendants' statement misstates and mischaracterizes the testimony such
 2    that its probative value is substantially outweighed by the danger of unfair prejudice,
 J    confusion of the issue, and misleading the court. Fed. R. Evid. 40I,402,403,702.
 4

 5           Seoarate Statement P arasralh 66 : Objection to the supporting Brooks Decl.,
 6    Exhibit 3 at 128:25-129:15 and Exhibit 24 at204-205 on the grounds that they lack
 7    foundation, lack authentication, are vague and ambiguous and irrelevant to any issue
 8    raised in Defendants' motion, and the witness is not qualified to provide a legal opinion.
 9    Furthermore, Defendants' statement misstates and mischaracterizes the testimony such
10    that its probative value is substantially outweighed by the danger of unfair prejudice,
11    confusion of the issue, and misleading the court. Fed. R. Evid. 401,402,403,702.
12

13           Separate Statement Paragraph          67: Objection to the supporting Brooks Decl.,
I4    Exhibit 12 onthe grounds that it lacks foundation, lacks authentication, is irrelevant to
15    any issue raised in Defendants' motion. Furtheffnore, Defendants' statement misstates
r6    and mischaracteúzes the testimony such that its probative value is substantially
I7    outweighed by the danger of unfair prejudice, confusion of the issue, and misleading the
18    court. Fed. R. Evid. 401,402,403.
I9
20                   te Statement P                      Objection to the supporting Brooks Decl.,
2I    Exhibit 13 on the grounds that it lacks foundation, is inadmissible hearsay and no
22    exception is applicable. Fed. R. Evid. 802, 901.
23

24           Seoarate Statement Par aç¡faoh 69 : Objection to the supporting Brooks Decl.,

25    Exhibit 14 on the grounds that it lacks foundation, is inadmissible hearsay and no
26    exception is applicable. Fed. R. Evid. 802,901.
27

28

                                                            10
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Support of Defendants' Motion for Summary Judgment
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 1                        tatement P                  : Objection     to the supporting Brooks Decl.,
 2    Exhibit 15 on the ground that it is inadmissible hearsay and no exception is applicable.
 a
 J    Fed. R. Evid. 802.
 4

 5          Seoarate Statement Parasraoh           72: O bjection to the supporting Brooks Decl.,
 6    Exhibit 16 on the ground that it is inadmissible hearsay and no exception is applicable
 7    Fed. R. Evid. 802.
 8

 9           Seoarate Statem ent ParasraohT{: O bjection to the supporting Brooks Decl.,
10    Exhibit 17 on the ground that it is inadmissible hearsay and no exception is applicable.
11    Fed. R. Evid. 802.
t2
13           Seoarate S             lParapraohT5         Objection to the supporting Brooks Decl.,
I4    Exhibit   I   at288:4-289:6 on the ground that it is vague and ambiguous so that its
15    probative value is substantially outweighed by the danger of unfair prejudice, confusion
16    of the issue, and misleading the court. Defendants' StatementT5 mischaracterizes Mr'
T7    Pedersen's deposition testimony. Fed. R. Evid. 106, 403.
18

19           Separate Statement P               oh 76 Objection to the supporling Brooks Decl.,
20    Exhibit   I   at289:2I-290:5 on the ground that it is vague and ambiguous so that its
21    probative value is substantially outweighed by the danger of unfair prejudice, confusion
22    of the issue, and misleading the court. Defendants' StatementT6 mischaracterizes Mr.
23    Pedersen's deposition testimony. Mr. Pederson's deposition testimony should be
24    considered in its context and entirety. Fed. R. Evid. 106,403.
25

26           Seoarate Statemen tParasraohTT: O bjection to the supporting Brooks Decl.,
27    Exhibit I at 123:19-124:3 onthe ground that it is vague and ambiguous                     so that its

28    probative value is substantially outweighed by the danger of unfair prejudice, confusion
                                                             11

       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undi sputed Facts in
                                    Supporl of Defendants' Motion for Summary Judgment
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 1    of the issue, and misleading the court. Defendants' StatemenlT6 mischaracterizes
 2    Pedersen's deposition testimony. Pederson's deposition testimony should be considered
 J    in its context and entirety. Duration of the agreement is also irrelevant to the issue of
 4    whether the parties had entered into an enforceable agreement. Fed. R. Evid. 106,402,
 5    403.
 6

 7           Separate Statement Paragraph          78: Objection to the supporting Brooks Decl.,
 8    Exhibit I at 136:9-12 onthe grounds that it is irrelevant and vague and ambiguous                      so that

 9    its probative value is substantially outweighed by the danger of unfair prejudice,
10    confusion of the issue, and misleading the court. Defendants' Separate Statement No. 76
11    mischaracterizes Mr. Pedersen's deposition testimony. Mr. Pederson's deposition
l2    testimony should be considered in its context and entirety. The terms for termination are
13    also irrelevant to whether the parties had entered into an enforceable agreement. Fed. R.
T4    Evid. 106,   401   ,402,403.
15

t6           Separate Statement Paragraph          79: Objection to the supporting Brooks Decl.,
I7    Exhibit I at 140:9-I4I:11 on the grounds that it is inelevant and vague and ambiguous                       so

18    that its probative value is substantially outweighed by the danger of unfair prejudice,
19    confusion of the issue, and misleading the court. Defendants' StatementT6
20    mischaracterizes Pedersen's deposition testimony. Pederson's deposition testimony
2I    should be considered in its context and entirety. Fed. R. Evid. 106,401 ,402,403.
22

ZJ           Separate Statement Paragraph          84: Objection to the supporting Brooks Decl.,
24    Exhibit 2 at l5l:20-I52:3, Exhibit 3 at 129:9-130:4, and Declaration of Jim Nelson
25    ("Nelson Decl."), parugraph3 on the grounds that it is vague and ambiguous, and
26    Defendants' Statement 84 misstates and mischaracterizes the evidence such that its
27    probative value is substantially outweighed by the danger of unfair prejudice, confusion
28    of the issue, and misleading the court. Fed. R. Evid. 106,403.
                                                            I2
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Support of Defendants' Motion for Summary Judgment
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 1



 2           Separate Statement Paragraph          86: Objection to the supporting Brooks Decl.,
 J    Exhibit 18 on the ground that it lacks foundation. Statement 86 also mischaracterizes the
 4    document. Fed. R. Evid. 901, 403.
 5

 6           Separate Statement Paragraph 87            Objection to the supporting Brooks Decl.,
 7    Exhibit 19 on the ground that it lacks foundation and authentication. Fed. R. Evid.                   901

 8

 9           Separate Statement Paragraph          88: Objection to the supporting Brooks Decl.,
10    Exhibit 19 on the grounds that it lacks foundation. Fed. R. Evid. 901.
11

T2           Seoarate Statement Parasraoh 89 : Objection to the supporting Brooks Decl.,
13    Exhibit 25 otthe ground that it lacks foundation, lacks authentication and constitutes
t4    inadmissible hearsay. Fed. R. Evid. 802, 901
15

I6           Separate Statement Paragraph 90            Objection to the supporting Brooks Decl.,
t7    Exhibit 20 onthe ground that it lacks foundation and authentication. Fed. R. Evid. 901.
18

t9           Separate Statement Paragraph          91: Objection to the supporting Brooks Decl.,
20    Exhibit 15 on the ground that it lacks foundation and is inadmissible hearsay. Fed. R.
2I    Evid.802,901.
22

23           Separate Statement Paragraphg6: The statement misstates the evidence in that it is

24    not a complete summary of the trade secret information identified by Tech-4-Kids. Fed.
25    R. Evid. 403.
26           Separate   S            Parasraoh9T: Objection to the supporting Brooks Decl.,
27    Exhibit 3 at 50: l4-52:I7 and Exhibit 2 at 7 5:9-77:18 on the grounds that they are vague
28    and ambiguous, and Defendants' Statement 97 misstates and mischaracterizes the
                                                            13
       Plaintiff Tech-4-Kids,Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                   Supporl of Defendants' Motion for Summary Judgment
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 1    evidence such that its probative value is substantially outweighed by the danger of unfair
 2    prejudice, confusion of the issue, and misleading the court. Fed. R. Evid. 106,403.
 J

 4           Separate Statement Parasraoh          98: Defendants' S eparate Statement No. 98
 5    misstates and mischaracterizes the evidence such that its probative value is substantially
 6    outweighed by the danger of unfair prejudice, confusion of the issue, and misleading the
 7    court. Fed. R. Evid. 403,802,1,002.
 8

 9           Separate Statement Paragraph          99: Objection to the supporting Brooks Decl.,
10    Exhibit 26 on the grounds that it lacks foundation. There is no evidence that the
11    information was provided by Rios. Fed. R. Evid. 901.
t2
13           Separate StatementParasraph 104: O bjection to the supporting Brooks Decl.,
I4    Exhibit I at36:18-41:8 on the ground that it is vague and ambiguous so that its probative
15    value is substantially outweighed by the danger of unfair prejudice, confusion of the
I6    issue, and misleading the court. Defendants' Statement 104 mischaracterizes Pedersen's
t7    deposition testimony. Pederson's deposition testimony should be considered in its
18    context and entirety. Fed. R. Evid. 106, 403.
t9
20           Separate Statement P aragraph 1 05 : Objection to the supporting Brooks Decl.,
2I    Exhibit I at 333:12-16, Exhibit 2 at 20:10- I 8 and Exhibit 3 at 32:I4-I8 on the ground
22    that it is vague and ambiguous so that its probative value is substantially outweighed by
23    the danger of unfair prejudice, confusion of the issue, and misleading the court.
24    Defendants' Statement 105 mischaracterizes the deposition testimony which should be
25    considered in its context and entirety. Fed. R. Evid. 106,403.
26

27           Separate Statement Parasraoh 106: Objection to the supporting Brooks Decl.,
28    Exhibit 3 at 28:12-25, 50:23-51 :3 on the ground that it is vague and ambiguous so that its
                                                            14
       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                    Supporl of Defendants' Motion for Summary Judgment
     Case 2:12-cv-06769-PA-AJW Document 128-1 Filed 05/13/13 Page 15 of 17 Page ID
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 1    probative value is substantially outweighed by the danger of unfair prejudice, confusion
 2    of the issue, and misleading the court. Defendants' Statement 106 mischaracterizes the
 a
 J    deposition testimony which should be considered in its context and entirety. Moreover,
 4    the witness speculates and lacks personal knowledge to the subject matter. Fed. R. Evid
 5    106,403,602.
 6

 7           Separate Statement Paragraph 107: Objection to the supporting Brooks Decl.,
 8    Exhibit 3 at22:7-24":I0,       31   :12-32:18 on the ground that it is vague and ambiguous so
 9    that its probative value is substantially outweighed by the danger of unfair prejudice,
10    confusion of the issue, and misleading the court. Defendants' Separate Statement No.
11    107 mischaracterizes the deposition testimony which should be considered in its context
t2    and entirety. Fed. R. Evid. 106,403.
13

t4           Separate Statement Paragraph 109: Objection to the supporting Nelson Decl.,
15    paragraph 8 on the ground that it lacks foundation, and the declarant lacks personal
16    knowledge of the subject matter and provided improper lay witness opinion and legal
I7    conclusion. Nelson does not explain his understanding of what constitutes a trade secret
18    nor does he explain who he would know whether Tech-4-Kids' confidential information
T9    was used in Sport Dimension's bid to Costco. Fed. R. Evid. 602,701,704.
20           Separate Statement Paragraph 110              Objection to the supporting Rios Decl.,
21    paragraph 11 on the ground that on the ground that it is vague and ambiguous such that
22    its probative value is substantially outweighed by the danger of unfair prejudice,
23    confusion of the issue, and misleading the court. Fed. R. Evid. 403.
24

25           Separate Statement Paragraph           111    Objection to the supporting Brooks Decl.,
26    Exhibits 18 and 19 on the ground that they lack foundationThe statement
27    mischaracterizes the exhibit. Fed. R. Evid. 403, 901.
28

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       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts in
                                   Supporl of Defendants' Motion for Summary Judgment
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                                       #:1715


 1           Separate Statement Paragraph          1   13: Objection to the supporting Brooks Decl.,
 2    Exhibit 13 on the grounds that it lacks foundation, and is inadmissible hearsay and no
 a
 J    exception is appliable. Fed. R. Evid. 802, 901.
 4

 5           Separate   S             Parasraoh     Il4., Objection to the supporting Brooks Decl.,
 6    Exhibit 2 at 142:24-143:1, 15l:20-152:6 and Exhibit 3 at 113:16-1I47 onthe ground
 7    they are vague and ambiguous so that their probative value is substantially outweighed by
 8    the danger of unfair prejudice, confusion of the issue, and misleading the court.
 9    Defendants' Statement 114 mischaracterizes the deposition testimony which should be
10    considered in its context and entirety. Fed. R. Evid. 106,403
11

I2           Separate Statement Paragraph I            15: Objection to the supporting Brooks Decl.,
13    Exhibit I at27I:20-274.24 onthe ground that it is vague and ambiguous so that its
l4    probative value is substantially outweighed by the danger of unfair prejudice, confusion
15    of the issue, and misleading the court. Defendants' Statement 115 mischaracterizes the
I6    deposition testimony which should be considered in its context and entirety. Fed. R.
17    Evid. 106,403.
18

I9           Separate Statement Paragraph 119: Objection to the supporting Brooks Decl.,
20    Exhibit 40 on the grounds that it lacks foundation, is inadmissible hearsay and no
21    exception is applicable, and the declarant lacks personal knowledge to the subject matter
22    Fed. R. Evid. 602,802,901.
23

24           S       teS                         h 120: O bjection to the supporting Brooks Decl.,
25    Exhibit I at 103:15-105:6 on the ground that it is vague and ambiguous so that its
26    probative value is substantially outweighed by the danger of unfair prejudice, confusion
27    of the issue, and misleading the court. Defendants' Statement No. 120 mischaracteÅzes
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       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts rn
                                    Supporl of Defendants' Motion for Summary Judgment
     Case 2:12-cv-06769-PA-AJW Document 128-1 Filed 05/13/13 Page 17 of 17 Page ID
                                       #:1716


 1    the deposition testimony which should be considered in its context and entirety. Fed. R.
 2    Evid. 106,403.
 J

 4    Dated: May 13,2012                             GREEI{BERG TRAURIG, LLP
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                                                     By      /s/ Valerie  Ho
                                                                           W.
 6                                                           Valerie W. Ho
 7
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 8                                                           Robert S. Freund
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                                                             Attorneys for Plaintiff and Counterde
10                                                           TECH-4-KIDS, INC.
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       Plaintiff Tech-4-Kids, Inc.'s Evidentiary Objections to Defendants' Separate Statement of Undisputed Facts rn
                                    Support of Defendants' Motion for Summary Judgment
